                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION
 PARENTS DEFENDING
 EDUCATION,
                     Plaintiff,
 v.
                                                  Case No. ____________
 LINN-MAR COMMUNITY SCHOOL
 DISTRICT; SHANNON BISGARD, in
 his official capacity as Superintendent of
 Linn-Mar Community School District;
 BRITTANIA MOREY, CLARK
 WEAVER, BARRY BUCHHOLZ,
 SONDRA NELSON, MATT
 ROLLINGER, MELISSA WALKER,
 and RACHEL WALL, in their official
 capacities as members of the Linn Marr
 Community School District School
 Board,
                     Defendants.


                         DECLARATION OF PARENT C

       1.    I live within the boundaries of the Linn-Mar Community School District

(“Linn-Mar”) and am the parent of a school-aged child.

       2.    I am over the age of eighteen and under no mental disability or

impairment. I have personal knowledge of the following facts and, if called as a witness,

would competently testify to them.

       3.    I am a member of Parents Defending Education.

       4.    My daughter is enrolled in Linn-Mar High School.



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       5.     I believe that people are either male or female, and that although gender

dysphoria exists, it is statistically unlikely to persist past adolescence.

       6.     I am aware of research showing that the percentage of adolescents who

identify as transgender or “non-binary” has nearly doubled over the past five years. I

am also aware of clinical research establishing that adolescents are significantly more

likely to announce a transgender or “non-binary” identity after other members of their

social groups do the same.

       7.     Moreover, I know that adolescent girls are more likely to assert a

transgender or “non-binary” gender identity than adolescent males.

       8.     I also know that children are increasingly likely to “experiment” with

gender identity, particularly during adolescence, and that asserting a transgender or

“non-binary” gender identity has increased significantly in Linn-Mar middle schools

and Linn-Mar High School. Children often need affirmation, and the modern school

environment provides that affirmation when kids “come out” as transgender or “non-

binary.”

       9.     To my knowledge, my daughter is the only member of her friend group

that does not identify as a member of the LGBT community. Based on my daughter’s

particular life experiences and my conversations with her, I believe there is a substantial

risk that she will receive a Gender Support Plan from school administrators or

otherwise receive gender identity-related accommodations from Linn-Mar against my

wishes.

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      10.    I want to ask the District on a regular basis whether my child has requested

or been given a Gender Support Plan, whether my child has made requests or actions

have been taken concerning my child’s gender identity, and whether the District has

any other information that would reveal my child’s “transgender status.” I want to

receive this information without seeking “permission” from my child. Policy 504.13-R,

however, prohibits school officials from revealing any of this information to me without

my child’s permission.

      11.    I also want to exercise my fundamental right as a parent to guide my

daughter’s upbringing and to help my daughter navigate any issues that might arise

regarding her perception of her gender identity.

      12.    Under the Policy, however, I know that when these issues arise, my role

will be displaced by Linn-Mar administrators who do not know my child as well as I do.

The Policy requires school officials to immediately accept and validate a child’s

expression of gender identity—regardless of their age—without questioning how the

child arrived at that conclusion.

      13.    I am concerned that Linn-Mar administrators will create a Gender

Support Plan and facilitate my daughter’s gender “transition” without informing me or

obtaining my consent. I also worry that Linn-Mar will prioritize my daughter’s decisions

about her “preferred pronouns” and “preferred name” at school over my wishes, even

in the absence of a formal Gender Support Plan.




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       14.    Because the Policy categorically forbids me from accessing certain

information about my daughter without her consent, I will have no way of learning

whether Linn-Mar is taking these actions. And because my daughter knows that I have

strong feelings about this topic, I have no reason to believe that she would inform me

about Linn-Mar’s actions if she chooses to act against my wishes.

       15.    The Policy has caused me significant emotional distress because I know

that my child is likely to be subjected to a Gender Support Plan or similar actions by

Linn-Mar officials that are inconsistent with my fundamental values and implemented

without my knowledge.

       16.    I am signing this declaration under a pseudonym because I live in Linn-

Mar and, if my participation in this litigation becomes public, I fear reprisal from school

officials, my child’s teachers and fellow students, and members of the broader

community.




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